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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11   SAN DIEGO COMIC CONVENTION, a                      Case No.: 14-cv-1865-AJB-JMA
     California non-profit corporation,
12
                                       Plaintiff,       AMENDED ORDER GRANTING IN
13                                                      PART AND DENYING IN PART
     v.                                                 PLAINTIFF’S MOTION FOR
14
     DAN FARR PRODUCTIONS, a Utah                       ATTORNEYS’ FEES AND COSTS
15   limited liability company, DANIEL                  PURSUANT TO 15 U.S.C. § 1117(a)
16   FARR, an individual, BRYAN
     BRANDENBURG, an individual,                        (Doc. No. 425)
17
                                    Defendants.
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19
20         Pursuant to 15 U.S.C. § 1117(a), a court may in “exceptional cases” award
21   reasonable attorneys’ fees and costs to the prevailing party in a trademark infringement
22   lawsuit. Plaintiff San Diego Comic Convention (“SDCC”) moves this Court to find that
23   the instant case is “exceptional.” (Doc. No. 425.) Defendants Dan Farr Productions, Daniel
24   Farr, and Bryan Brandenburg (collectively referred to as “DFP”) oppose SDCC’s request.
25   (Doc. No. 512.) On May 31, 2018, the Court held a hearing on the motion and then
26   submitted the matter. (Doc. No. 504.) Finding that this case is in fact “exceptional,” the
27   Court awards SDCC reasonable attorneys’ fees and costs subject to certain deductions.
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 1   Accordingly, the Court GRANTS IN PART AND DENIES IN PART SDCC’s motion.
 2   (Doc. No. 425.)
 3                                        BACKGROUND
 4         The Court is already well-versed as to the events leading up to the institution of this
 5   action. Thus, for the purposes of this Order, the Court will only provide a narrow review
 6   of this lawsuit’s factual and procedural background.
 7         On August 7, 2014, SDCC filed a lawsuit against DFP alleging two causes of action:
 8   (1) Federal Trademark Infringement, 15 U.S.C. § 1114; and (2) False Designation of
 9   Origin, 15 U.S.C. § 1125(a). (See generally Doc. No. 1.) SDCC is a non-profit corporation,
10   formed in 1975, that is dedicated to the awareness and appreciation of comics and related
11   popular art forms. (Doc. No. 1 ¶ 10.) Every year since 1970, SDCC has produced and held
12   its convention known as the “Comic-Con convention” in San Diego, California. (Id. ¶ 11;
13   Doc. No. 97 at 9.)1 The convention spans several days in length and showcases several
14   hundred events, workshops, educational and academic programs, games, award shows,
15   costume contests, as well as hosts panels of special guests that include science fiction and
16   fantasy authors, film and television actors, directors, producers, and writers. (Doc. No. 1 ¶
17   12; Doc. No. 97 at 9.) In 2016, attendance to San Diego Comic-Con exceeded over 135,000
18   attendees. (Doc. No. 97 at 9.)
19         SDCC’s family of trademarks at issue in this case are:
20                     1. Comic-Con;
21                     2. Comic Con International;
22                     3. Anaheim Comic-Con; and
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      Page numbers refer to the CM/ECF number and not the number listed on the original
28   document.
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 4                   4.
 5   (Doc. No. 1 ¶ 13; Doc. No. 244 at 11.) Each of these registered trademarks is incontestable.
 6   (Doc. No. 381 at 25:15–25.) Additionally, SDCC states that it has used these marks
 7   extensively and continuously in interstate commerce and thus the marks have become
 8   valuable assets as well as symbols of its goodwill and positive industry reputation. (Doc.
 9   No. 1 ¶ 15.)
10            In early 2013, Defendant Dan Farr Productions, a limited liability company, began
11   to advertise and promote its own popular arts convention named “Salt Lake Comic Con”
12   (“SLCC”). (Doc. No. 234-2 at 7; Herrera Decl. Ex. 5 (“Farr Depo.” 11:4–9, Doc. No. 95-
13   7).) Similar to SDCC’s convention, SLCC is a three-day fan event featuring the best in
14   movies, television shows, gaming, sci-fi, fantasy, and comic books. (Doc. No. 244 at 12.)
15   Since 2013, SLCC has been held every year and in the beginning of 2014, Dan Farr
16   Productions created its Salt Lake Comic Con FanXperience event, which has also been
17   held every year since its inception. (Farr Depo. at 11:10–15; Doc. No. 97 at 11.)
18            Thus, the marrow of this case is whether DFP’s comic arts and popular fiction
19   event named “Salt Lake Comic Con” infringed on SDCC’s three incontestable trademarks.2
20   On December 8, 2017, after an eight-day jury trial, the jury found that DFP had indeed
21   infringed on SDCC’s family of trademarks. (Doc. No. 395 at 2–5.) As to unfair competition
22   and false designation of origin however, the jury found in favor of DFP. (Id. at 6.) In total,
23   the jury awarded corrective advertising damages to SDCC in the amount of $20,000.00.
24   (Id. at 8.)
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      The Court notes that after the trial, DFP changed the name of their event to “FanX Salt
28   Lake Comic Convention.” (Doc. No. 513 at 7–8.)
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 1         Post-trial, SDCC filed three motions: (1) its motion for permanent injunction, (Doc.
 2   No. 419); (2) the instant motion, its motion for attorneys’ fees and costs, (Doc. No. 425);
 3   and (3) its motion for judgment as a matter of law or in the alternative motion for new trial,
 4   (Doc. No. 433). Thereafter, on August 8, 2018, the Court ordered SDCC to file a
 5   supplemental brief breaking down the total amount of fees it requested. (Doc. No. 523.)
 6   DFP then asked for the opportunity to respond to SDCC’s supplemental brief. (Doc. No.
 7   531.) The Court granted this request, and DFP’s response was filed on August 22, 2018.
 8   (Id.; Doc. No. 532.)
 9                                          DISCUSSION
10   A.    This Case is Exceptional Pursuant to 15 U.S.C. § 1117(a)
11         SDCC’s motion provides an exhaustive and detailed account of the actions it
12   believes makes this case exceptional. (See generally Doc. No. 425-1.) In opposition, DFP
13   asserts that SDCC’s motion is based on distortions, is unpersuasive, and relies on critiques
14   that are hyperbolic and hypocritical. (See generally Doc. No. 512.)
15         The Lanham Act permits an award of reasonable attorneys’ fees to the prevailing
16   party in “exceptional cases.” 15 U.S.C. § 1117(a). Originally, “[w]hile the term
17   ‘exceptional’ [was] not defined in the statute, generally a trademark case [was] exceptional
18   for purposes of an award of attorneys’ fees when the infringement [was] malicious,
19   fraudulent, deliberate or willful.” Lindy Pen Co., Inc. v. Bic Pen Corp., 982 F.2d 1400,
20   1409 (9th Cir. 1993).
21         In 2016, the Ninth Circuit in SunEarth, Inc. v. Sun Earth Solar Power Co., Ltd., 839
22   F.3d 1179 (9th Cir. 2016), relied on the Supreme Court’s decision in Octane Fitness, LLC
23   v. ICON Health & Fitness, Inc., 134 S. Ct. 1749, 1756 (2014), to abrogate Lindy Pen Co.
24   and modify the standard definition of “exceptional” in attorney fee recovery Lanham Act
25   cases. SunEarth, Inc., 839 F.3d at 1180. Ultimately, the Ninth Circuit held that “district
26   courts analyzing a request for fees under the Lanham Act should examine the ‘totality of
27   the circumstances’ to determine if the case [is] exceptional, exercising equitable discretion
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 1   in light of the nonexclusive factors identified in Octane Fitness and Fogerty, and using a
 2   preponderance of the evidence standard.” Id. at 1181 (internal citation omitted).
 3         The Ninth Circuit also defined an exceptional case as one that simply “stands out
 4   from others with respect to the substantive strength of a party’s litigating position
 5   (considering both the governing law and the facts of the case) or the unreasonable manner
 6   in which the case was litigated.” Id. at 1180 (citation omitted). The nonexclusive factors in
 7   determining if a case is “exceptional” include: “frivolousness, motivation, objective
 8   unreasonableness (both in the factual and legal components of the case) and the need in
 9   particular circumstances to advance considerations of compensation and deterrence.” Id. at
10   1181 (citation omitted).3 Additionally, despite the Ninth Circuit’s decision to alter the
11   definition of “exceptional,” the Federal Circuit held that Octane Fitness “gave no
12   indication that [the Federal Circuit] should rethink [its] litigation misconduct line of § 285
13   cases” and stated that “district courts can turn to [] pre-Octane Fitness case law for
14   guidance” regarding such arguments. SFA Sys., LLC v. Newegg Inc., 793 F.3d 1344, 1349
15   (Fed. Cir. 2015).
16         In sum, litigation brought in bad faith or with objectively baseless claims may be
17   considered exceptional, as may litigation demonstrating inequitable conduct or willful
18   infringement. Fogerty v. Fantasy, Inc., 510 U.S. 517, 525 n.12 (1994); see also Octane
19   Fitness, 134 S. Ct. at 1757 (“[A] case presenting either subjective bad faith or exceptionally
20   meritless claims may sufficiently set itself apart from mine-run cases to warrant a fee
21   award.”). Similarly, courts “have awarded attorneys’ fees . . . where a party advances
22   arguments that are particularly weak and lack support in the record or seek only to re-
23   litigate issues the court has already decided.” Intex Recreation Corp. v. Team Worldwide
24   Corp., 77 F. Supp. 3d 212, 217 (D.C. Cir. 2015). Thus, the determination of “exceptional”
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      “Octane Fitness lowered the bar for an exceptional case finding[.]” Veracode, Inc. v.
28   Appthority, Inc., 137 F. Supp. 3d 17, 102 (D. Mass. 2015).
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 1   falls squarely within the discretion of the trial court. Highmark Inc. v. Allcare Health Mgmt.
 2   Sys., Inc., 134 S. Ct. 1744, 1748 (2014).
 3         Here, the jury found that DFP infringed on all three of SDCC’s trademarks, yet also
 4   found that DFP did not willfully infringe the marks. (See generally Doc. No. 395.) Thus,
 5   under the original definition of “exceptional,” SDCC’s request for attorneys’ fees would
 6   have been difficult to advance successfully. See Gracie v. Gracie, 217 F.3d 1060, 1068
 7   (9th Cir. 2000) (“Here the jury explicitly found that [the defendant] engaged in ‘willful’
 8   infringement . . .The district court’s decision to make a fee award to [the plaintiff] thus
 9   flows quite naturally from the jury’s finding of willful infringement . . .”). However, after
10   SunEarth, examining the totality of the circumstances, the Court finds that this case is not
11   a dime a dozen. Instead, it is a trademark infringement lawsuit that stands out from others
12   based on the unreasonable manner it was litigated and thus an award of attorneys’ fees and
13   costs to SDCC is justified.
14         i. SDCC is the Prevailing Party
15         As an initial matter, the Court addresses DFP’s assertion that the “split verdict” in
16   this case illustrates that there is no clear winner. (Doc. No. 512 at 8–9.) Accordingly, as
17   the Lanham Act only authorizes an award of fees “to the prevailing party,” DFP contends
18   that SDCC’s motion is flawed. (Id.) DFP’s argument is both unpersuasive and legally
19   unsound.
20         Had DFP researched this issue thoroughly, DFP would have discovered that the jury
21   verdict in favor of SDCC for trademark infringement renders SDCC the prevailing party.
22   See Farrar v. Hobby, 506 U.S. 103, 111–12 (1992) (illustrating that a party prevails “when
23   actual relief on the merits of [the plaintiff’s] claim materially alters the legal relationship
24   between the parties by modifying the defendant’s behavior in a way that directly benefits
25   the plaintiff.”); see also Hensley v. Eckerhart, 461 U.S. 424, 433 (1983) (holding that a
26   prevailing party is one that “succeed[s] on any significant issue in litigation which achieves
27   some of the benefit the parties sought in bringing suit.”) (citation omitted); Orantes-
28   Hernandez v. Holder, 713 F. Supp. 2d 929, 942 (C.D. Cal. 2010) (“A plaintiff is deemed
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 1   the ‘prevailing party’ if, as a result of a judgment or consent decree entered in the legal
 2   action he or she brought, there is a ‘material alteration of the legal relationship of the
 3   parties.’”) (citation omitted). Based on the foregoing, in the instant matter, SDCC is the
 4   prevailing party for § 1117(a) purposes.
 5          Next, the Court identifies the various circumstances of this case that warrant an
 6   award of attorneys’ fees and costs under § 1117(a).
 7          ii.    DFP’s Failure to Comply with Court Rules
 8          The Court highlights three incidents that occurred prior to trial. First, in
 9   contravention to this Court’s Local Rules, DFP filed two summary judgment motions that
10   totaled over forty pages in length. (Doc. Nos. 216, 218, 244, 245.) The local rules clearly
11   explicate that when filing a motion, all the arguments should be contained in one brief, not
12   exceeding a total of twenty-five (25) pages. CivLR 7.1.h.
13          DFP advances two arguments to explain their actions, both of which are nonsensical
14   and only further support this Order’s final conclusion. DFP asserts that they had leave to
15   make their filings because the Clerk gave out a single hearing date for all dispositive
16   motions and that SDCC also broke the rules as it filed both a motion for summary judgment
17   and a motion to exclude on the same day, which totaled over forty-three pages. (Doc. No.
18   512 at 20–21.) DFP’s reasoning is disconcerting. Logically, all arguments relating to a
19   specific motion need to be contained in a single motion. Under DFP’s theory of motion
20   practice, a party could file a separate brief for every cause of action it sought to dismiss
21   under Federal Rule of Civil Procedure 12(b)(6), thereby violating the page limits set by
22   this Court. This is erroneous. Thus, in contrast to DFP’s belief that SDCC broke the rules,
23   it did not.
24          The Court also highlights that DFP did not file a timely Daubert challenge to
25   SDCC’s expert Patrick Kennedy. The Court then denied DFP’s motion to file a late
26   challenge, however despite this, DFP utilized a motion in limine to revisit the issue. (Doc.
27   Nos. 321, 345, 340; Transcript of Motion in Limine Hearing at 169:14–16, November 14,
28   2017.) In the same vein, after DFP lost a Daubert challenge to SDCC’s expert Mr. Ezell,
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 1   (Doc. No. 263 at 10), DFP attempted to re-introduce their argument that Mr. Ezell and his
 2   Teflon Survey were irrelevant both during motion in limine, (Doc. No. 314-1 at 7), and in
 3   their motion for judgment as a matter of law, (Doc. No. 429-1 at 14).
 4         Finally, the most prominent example of DFP’s disregard for this Court’s rules and
 5   procedures occurred on June 23, 2017, when DFP filed a motion for leave to amend their
 6   pleading that expressly referenced testimony that had been designated “Confidential—
 7   Attorneys’ Eyes Only” by SDCC and the Protective Order in this case. (Doc. No. 129-1 at
 8   3.) In spite of the highly confidential information contained in the document, Defendant
 9   Bryan Brandenburg also disseminated the information on the Internet through his social
10   media accounts and SLCC’s Twitter Page. (Id.)
11         In sum, DFP’s indifference to this Court’s rulings and the Local Rules are actions
12   that should be deterred by compensation furnished to SDCC.
13         iii. DFP’s Unreasonable Manner of Litigation
14                a. DFP’s Persistent Desire to Re-Litigate Issues Already Decided
15          At every opportunity, DFP has repeated, re-argued, and recycled arguments already
16   briefed by both parties and analyzed and ruled on by the Court. This type of wasteful
17   litigation tactic forced SDCC to expend extra, unnecessary legal fees and drove this Court
18   to squander already limited judicial resources.
19         The Court first focuses on DFP’s naked licensing defense. This defense was first
20   produced at summary judgment. (Doc. No. 263-1 at 20–25.) However, finding insufficient
21   evidence to support the theory, the Court denied DFP’s motion on the matter. (Doc. No.
22   263 at 26–29.) Thereafter, during the pre-trial conference, after the Court expressed its
23   concern that there was not enough evidence to bring this defense to trial, DFP offered to
24   prepare a formal proffer document on the issue and submit that in advance of the motion
25   in limine hearing. (Doc. No. 265 at 9:11–11:19.)
26         DFP’s formal proffer document provided the Court relatively the same evidence
27   supplied at summary judgment. (Doc. Nos. 315, 344.) Accordingly, still finding the
28   evidence inadequate, the Court denied the motion. (Doc. No. 340.) Post-trial, DFP’s motion
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 1   for new trial inexplicably argues that they are “entitled to a proper adjudication of its naked
 2   licensing defense.” (Doc. No. 436-1 at 7.) Thus, in total, DFP has attempted to re-argue
 3   this defense three times, blatantly ignoring the record and this Court’s previous rulings.
 4         DFP’s repetitive motion practice also manifested itself in their “generic ab initio”
 5   defense. Initially, when this theory was first presented to the Court during summary
 6   judgment, DFP argued that this case “is not a genericide case.” (Doc. No. 244 at 23.)
 7   Instead, DFP argued that “Comic-Con” was generic “before it was applied as a trademark
 8   to the products in question.” (Id. at 24 (citing Horizon Mills Corp. v. QVC, Inc., 161 F.
 9   Supp. 2d 208, 220 n.16 (S.D.N.Y. 2001)).)
10         After carefully considering the evidence outlined by DFP, the Court denied DFP’s
11   summary judgment motion arguing that SDCC’s trademarks are generic ab intio. (Doc. No.
12   263 at 18.) Notwithstanding this fact, DFP brought a motion in limine “regarding
13   genericness evidence.” (Doc. No. 314-1.) Finding the in limine motion improper, the Court
14   stated during the hearing:
15         The Court: Well, it could be that I ruled out generic ab initio, already. And
           re-arguing it again is questionable to whether it’s in conformity to what
16
           motion in limine is about.
17          ...
           This is a motion in limine. We’re talking about a time line and you’ve tried to
18
           reargue the summary judgment.
19
20   (Doc. No. 425-7 at 4:21–10:12.) This motion was then denied. (Doc. No. 340.)
21         In spite of the summary judgment order and the in limine ruling, DFP’s motion for
22   new trial devotes several pages to arguing that they should have been “allowed to show
23   Genericness Ab Initio.” (Doc. No. 436-1 at 17–27.) DFP supported this argument with
24   more or less the same evidence produced at summary judgment. Altogether, “Generic ab
25   intio” has been discussed, analyzed, and denied by this Court three times.4
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       Generic ab initio was not only repeatedly discussed, but it is also a defense that DFP
28   strategically used and then disposed of depending on the evidence they sought to exclude.
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 1         Though not referenced by SDCC, DFP’s use of the Oxford Dictionary definition of
 2   “Con” is another blatant example of DFP’s “head in the sand” litigation strategies that has
 3   resulted in this Court repeatedly re-analyzing the same arguments. At summary judgment,
 4   to support their “generic ab intio” theory of defense, DFP argued that one may look to the
 5   individual parts of a mark. (Doc. No. 244 at 16, 19.) DFP then referenced the Oxford
 6   Dictionary definition of “con.” (Id.) In its order denying DFP’s summary judgment motion
 7   on “generic ab intio,” the Court clearly explained that courts have not only held that
 8   dictionary definitions are weak evidence of genericness, but that courts have routinely
 9   rejected the breaking down of phrases into their individual and often generic parts. (Doc.
10   No. 263 at 17.)
11          Astonishingly, ignoring the case law provided to them, DFP’s motion for new trial
12   again points to the same Oxford dictionary definition. (Doc. No. 436-1 at 25.) As a result,
13   this argument has been recycled by DFP twice in complete disregard of this Court’s
14   previous rulings and Ninth Circuit precedent. See Advertise.com, Inc. v. AOL Advertising,
15   Inc., 616 F.3d 974, 978 (9th Cir. 2010) (concluding that in determining similarity of marks
16   “we look to the mark as a whole and that the combination of generic terms may, in some
17   instances, result in a distinctive mark.”).
18         DFP also repeatedly sought to compel this Court to revisit their fraud defense. First,
19   DFP unsuccessfully requested leave to add fraud as an affirmative defense. (Doc. No. 202
20   at 6–10.) Thereafter, at the pretrial conference, DFP again referenced this defense. (Doc.
21   No. 265 at 12:8–20.) DFP then filed a motion in limine to be able to put forward evidence
22
23
     The Court notes that at the outset DFP plainly asserted that this was not a genericide case.
24   (Doc. No. 244 at 23.) DFP’s summary judgment motion then asserted that as SDCC’s
25   trademarks were “generic ab initio,” SDCC’s Teflon survey was irrelevant. (Id. at 23–24.)
     In contrast to the above, DFP’s expert Jeffrey Kaplan stated in his report that he was hired
26   to “offer linguistic evidence supporting [his] opinion that the expression ‘comic con’ was
27   generic at the time the above-captioned law suit was filed, and is currently generic[.]” (Doc.
     No. 91-2 at 3 (emphasis added).) This discrepancy was noted by the Court in its summary
28   judgment order. (Doc. No. 263 at 12.)
                                                   10

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 1   of SDCC’s alleged fraud on the USPTO to the jury. (Doc. No. 319.) The Court ultimately
 2   denied the motion after reminding DFP that it had already gotten rid of the fraud claim.
 3   (Transcript of Motion in Limine hearing at 141:20–22, November 14, 2017.) In sum, fraud
 4   was re-argued two times.
 5          Ultimately, resembling a broken record, DFP has repetitively restated and rehashed
 6   several contentions that they were unable to advance successfully prior to trial. This type
 7   of cyclical motion practice is objectively unreasonable and has justified attorneys’ fees
 8   under the Lanham Act. See Parks, LLC v. Tyson Foods, Inc., No. 5:15-cv-00946, 2017 WL
 9   3534993, at *1 (E.D. Pa. Aug. 17, 2017) (holding that the hallmark of a case that has been
10   litigated in an unreasonable manner is one that involves “wasteful procedural maneuvers
11   or dilatory tactics”) (citation and internal quotation marks omitted); see also Cognex Corp.
12   v. Microscan Sys., Inc., No. 13- CV-2027 JSR, 2014 WL 2989975, at *4 (S.D.N.Y. June
13   30, 2014) (criticizing the plaintiff for post-trial motions that simply sought to relitigate
14   issues decided during trial and awarding fees at least as to those motions); Precision Links
15   Inc. v. USA Prods. Grp., Inc., No. 3:08-cv-00576-MR, 2014 WL 2861759, at *3 (W.D.N.C.
16   June 24, 2014) (criticizing the plaintiff for seeking a preliminary injunction based in large
17   part on a previously rejected theory of liability and for filing frivolous post dismissal
18   motions).
19                 b. DFP’s Objectively Unreasonable Legal Arguments
20          DFP’s efforts to formulate legal arguments based on factually and legally irrelevant
21   case law also help bolster this Court’s conclusion that the instant matter is not a middle-of
22   the-road trademark case. The Court notes that at certain points, DFP’s zealous advocacy
23   has turned into gamesmanship.
24          To begin with, the Court focuses on DFP’s motion to amend their pleading. DFP
25   sought to amend so that they could allege that SDCC committed fraud on the USPTO. (See
26   generally Doc. No. 204-1.) However, DFP’s motion failed to cite to the correct legal
27   standard to support such a claim. Instead, DFP pointed the Court to a list of inapplicable
28   patent cases. (Id. at 5.)
                                                  11

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 1         Further, DFP requested amendment so as to add a defense of inequitable conduct.
 2   (Id. at 16.) However, as the Court pointed out in its order, inequitable conduct is a defense
 3   raised in patent infringement cases. (Doc. No. 202 at 11 (see Mag Instrument, Inc. v. JS
 4   Prods., Inc., 595 F. Supp. 2d 1102, 1109 (C.D. Cal. 2008) (holding that inequitable conduct
 5   consists of several elements including “the failure to disclose known material information
 6   during the prosecution of a patent, coupled with the intent to deceive the PTO.”)).)
 7         DFP’s motion in limine proffering evidence of a naked license is yet another
 8   example of DFP’s faulty, hodgepodge legal reasoning. (Doc. No. 344.) DFP states:
 9         Second, “where circumstances or the previous course of dealing between the
           parties places the offeree under a duty to act or be bound, his silence or
10
           inactivity will constitute his assent”: SDCC’s silence, on the heels of its
11         “threatened immediate or vigorous enforcement,” was “intentionally
           misleading”—and gave SDCC “a duty to speak,” especially when coupled
12
           with Reed’s communicated reliance on its remedial measures’ sufficiency and
13         years of friendly intercourse. Third, “implied license may arise by …
           acquiescence”; “permission or lack of objection is … equivalent to …
14
           license”; thus SDCC’s longstanding tolerance of Reed’s use is enough to show
15         a license.
16   (Id. at 6 (internal footnotes omitted).) The Court illustrates that in total, DFP selectively
17   chose and blended together specific phrases from five different cases. Specifically, DFP
18   quotes from: Beatty Safway Scaffold, Inc. v. Skrable, 180 Cal. App. 2d 650, 655 (1960);
19   Hottel Corp. v. Seaman Corp., 833 F.2d 1570, 1574 (Fed. Cir. 1987); Scholle Corp. v.
20   Blackhawk Molding Co., 133 F.3d 1469, 1472 (Fed. Cir. 1998); I.A.E., Inc. v. Shaver, 74
21   F.3d 768, 775 (7th Cir. 1996); and Winbond Elec. Corp. v. ITC, 262 F.3d 1363, 1374 (Fed.
22   Cir. 2001). (Id.) However, DFP’s reliance on the foregoing cases is misplaced—both Hottel
23   Corp. and Scholle Corp., analyze equitable estoppel defenses in the patent infringement
24   context, 833 F.2d at 1574; 133 F.3d at 1472, Shaver, examined how a copyright owner
25   could transfer to another person any exclusive rights an owner has in a copyright, 74 F.3d
26   at 774–75, and Winbond examined an implied license/waiver in a patent infringement case,
27   262 F.3d 1374.
28
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 1         A final example of DFP’s groundless legal reasoning comes from their opposition
 2   brief to SDCC’s instant motion. DFP’s brief cites to Kellogg Co., to demonstrate that Mr.
 3   Brandenburg did not admit that Comic Con is a brand. (Doc. No. 512 at 10–11.) Instead,
 4   DFP claims that what Mr. Brandenburg meant when he said “brand” was the “goodwill”
 5   of SDCC’s events, not that he meant “brand” in a legal trademark sense. (Id. at 11.) The
 6   portion of Kellogg DFP employs is:
 7         Kellogg Company is undoubtedly sharing in the goodwill of the article known
           as “Shredded Wheat”; and thus is sharing in a market which was created by
 8
           the skill and judgment of plaintiff’s predecessor and has been widely extended
 9         by vast expenditures in advertising persistently made. But that is not unfair.
           Sharing in the goodwill of an article unprotected by patent or trade-mark is
10
           the exercise of a right possessed by all—and in the free exercise of which the
11         consuming public is deeply interested.
12   Id. (citing Kellogg Co. v. Nat’l Biscuit Co., 305 U.S. 111, 122 (1938)).
13         It is plainly clear to the Court and should be evidently unmistakable to DFP that
14   Kellogg is factually immaterial. In Kellogg, the plaintiff did not have an exclusive right to
15   the use of the term “Shredded Wheat” as a trade name as it was determined that the term
16   was generic of the article it described. Id. at 116 (emphasis added). In fact, “Shredded
17   Wheat” was never used as a trademark. Id. at 117. Additionally, the patent for the product
18   and the process of making the item was “dedicated to the public” as the patent had expired
19   on October 15, 1912. Id. The present matter involves three incontestable trademarks—
20   trademarks DFP knew were registered with the USPTO—and there is no patent in play.5
21   (Doc. No. 394 at 21.)
22         The above-mentioned examples are simply a small collection of DFP’s unreasonable
23   manner of litigation and do not encompass every instance they misrepresented a case for
24   their own benefit. This type of frivolous motion practice should be deterred. See Monolithic
25
26   5
       The Court notes that Kellogg is also a recycled argument, having already determined its
27   inapplicability during motion in limine. (See generally Doc. No. 314; Transcript of Motion
     in Limine Hearing at 29:5–19, November 14, 2017.)
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 1   Power Sys., Inc. v. O2 Micro Int’l Ltd., 726 F.3d 1359, 1366 (Fed. Cir. 2013) (“[L]itigation
 2   misconduct and unprofessional behavior may suffice, by themselves, to make a case
 3   exceptional . . . .”).
 4          Beyond gamesmanship, there has been inappropriate citation to as well as
 5   incomplete or inaccurate references to purported case authority throughout this litigation
 6   by DFP. In each order on every post-trial matter, DFP has been called out in this regard.
 7                 c. DFP’s Objectively Unreasonable Responses to this Litigation
 8          More convincing evidence of this case’s exceptional nature materializes itself in
 9   DFP’s unreasonable responses to this litigation. DFP admits to receiving SDCC’s cease
10   and desist letter. (Doc. No. 383 at 92:9–20; Tr. Ex. 127.) However, instead of consulting
11   an attorney or trying to reach out to SDCC’s legal team, DFP continued to use “Comic
12   Con” in their event name. (Id. at 92:13–23.) Moreover, within a week of receiving the cease
13   and desist letter and with full knowledge of SDCC’s trademark registrations, DFP sought
14   and successfully registered their Salt Lake Comic Con mark with the USPTO. (Doc. No.
15   304-1 at 2.) The Court finds DFP’s foregoing reactions to be both factually and legally
16   unreasonable.
17          DFP asserts that since the jury sided with them on willfulness, the Court may not
18   reach a different result by applying the same stipulated definition of willfulness to the same
19   body of evidence and return a different result. (Doc. No. 512 at 13.) DFP then asserts that
20   willfulness in the trademark infringement context is the same as “motivation” under §
21   1117(a). (Id. at 12–13.) The Court disagrees.
22          First, DFP’s assertion that the definition of “willfulness” mirrors “motivation” is
23   completely unsupported. This is simply a legal theory conjured up by DFP. Second, a
24   finding of exceptionality pursuant to § 1117(a) includes examining the totality of the
25   circumstances, which includes factors such as objective unreasonableness, frivolousness,
26   compensation, deterrence, and motivation. SunEarth, Inc., 839 F.3d at 1181. Thus, the
27   Court is not altering the jury’s willfulness verdict as DFP suggests. Instead, the Court is
28
                                                   14

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 1   reviewing the circumstances of this case under the lens of § 1117(a), a review process that
 2   is distinct from a willfulness analysis.
 3         Accordingly, the Court finds DFP’s various reactions listed above objectively
 4   unreasonable pursuant to § 1117(a). See Decus, Inc. v. Heenan, No. 16-5849, 2018 WL
 5   1082842, at *3 (E.D. Pa. Feb. 27, 2018) (“Cases finding exceptionality based on litigation
 6   in an ‘unreasonable manner’ include a defendant’s continued trademark infringement after
 7   it knew, through the [USPTO] and plaintiff’s cease and desist letters, its mark ‘was
 8   confusingly similar’ to plaintiff’s mark[.]”); see also Mountz, Inc. v. Northeast Indus.
 9   Bolting and Torque, LLC, No. 15-cv-04538-JD (MEJ), 2017 WL 780585, at *2 (N.D. Cal.
10   Jan. 27, 2017) (“Defendant’s response to the litigation, including the threats to Plaintiff’s
11   business, the attempt to register the offending mark with the PTO, and the failure to respond
12   to the Complaint, was objectively unreasonable.”).
13                d. Objectively Unreasonable Litigation Conduct
14         An additional component to the Court’s analysis is DFP’s misconduct during trial.
15   SDCC places a great emphasis on this conduct, (Doc. No. 425-1 at 22–26), while DFP’s
16   opposition brief focuses the Court’s attention on SDCC’s misconduct during trial, (Doc.
17   No. 512 at 27–30). The Court finds SDCC’s assertions more persuasive.
18         At the outset, DFP’s opening statement included the following comment:
19         The fact is Comic Con is thriving. Okay. They made more money each year
           since Salt Lake Comic Con came on the scene. They haven’t lost a single
20
           customer to us . . . We’re small potatoes. They also have $15 million in cash
21         sitting in their bank. They own a downtown office building they paid $5 million
           cash for. They’re not for-profit, but they’re the deep pocket.
22
           ...
23         So Defendants, if they have to pay even a fraction of what CCI asks would be
           put out of business and the people of Utah would be paying for it. But they’re
24
           also suing them individually. So they would be pushing them to bankruptcy.
25
26   (Doc. No. 381 at 52:12–53:24.) Referencing a party’s wealth to play off the bias of the jury

27   is clear misconduct. See Hoffman v. Brandt, 65 Cal. 2d 549, 552–53 (1966) (“The argument

28   was clearly error . . . a deliberate attempt by counsel to appeal to social or economic

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 1   prejudices of the jury, including the wealth or poverty of the litigants, is misconduct where
 2   the asserted wealth or poverty is not relevant to the issues of the case.”); see also Martinez
 3   v. Dep’t of Transp., 238 Cal. App. 4th 559, 566 (2015) (“The law, like boxing, prohibits
 4   hitting below the belt. The basic rule forbids an attorney to pander to the prejudice, passion
 5   or sympathy of the jury. In more concrete terms, attorneys cannot make appeals based on
 6   irrelevant financial aspects of the case such as the hardship that would be visited on a
 7   defendant from a plaintiff’s verdict.”) (internal citation omitted).
 8          During trial, DFP also introduced different concepts that played off of their “generic
 9   ab initio” theory of defense—a defense that this Order clearly delineates was excluded at
10   summary judgment, the pre-trial conference, and motion in limine. For instance, DFP made
11   references to a “generic brand.” (Doc. No. 381 at 35:19–20.) SDCC objected to such
12   classification and the Court sustained the objection stating that it was a
13   “mischaracterization” and asked the jury to disregard the comment. (Id. at 35:24–36:5.)
14          DFP however did not stop in their quest to put this legally flawed notion before the
15   jury. After being admonished, DFP began referring to Comic-Con as a “national brand.”
16   (Id. at 39:18.) For example, during Mr. Brandenburg’s testimony, the Court had to censure
17   DFP.
18          Q. And when you said, but we are hijacking the brand, were you referring to
            San Diego’s brand?
19
            A. No, I was not.
20          Q. Whose brand were you referring to?
            A. As you can see in the next sentence, I clarify what I was referring to was
21
            the national Comic Con brand.
22          Ms. Bjurstrom: Objection, your honor.
            The Court: Sustained. Jury will disregard the last comment.
23
            Mr. Katz: I’m not sure why.
24          The Court: There is no evidence of a national comic brand, sir.
25   (Doc. No. 383 at 123:23–124:9.) Then during closing arguments, despite the Court’s
26   previous rulings, DFP continued to use the phrases “Comic Con circuit” and “Comic Con
27   Brand.” (Doc. No. 403 at 40:9–43:5.)
28
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 1         Further, DFP misstated the law. For instance, DFP argued a “substantial confusion”
 2   standard instead of the likelihood of confusion test utilized by the Ninth Circuit. (Id. at
 3   46:9–14.) Moreover, DFP constantly and repeatedly referred to SDCC’s trademark as
 4   “Comic dash Con.” (Doc. No. 381 at 37:2–4 (“And you saw on the screen that Plaintiff’s
 5   showed you, Comic-Dash-Con as she described each era of Comic Con.”); Id. at 39:11–16
 6   (“In fact, in 1998, there were 30 events that called themselves Comic Con, and that’s ten
 7   years before San Diego Comic Convention, or SDCC, ever applied for their mark in
 8   Comic-Dash-Con alone.”).)
 9         The Ninth Circuit has repeatedly emphasized that similarity of two marks is first
10   “considered in their entirety[.]” GoTo.com, Inc. v. Walt Disney Co., 202 F.3d 1199, 1206
11   (9th Cir. 2000). Second, “similarity is adjudged in terms of appearance, sound, and
12   meaning, and third, similarities are weighed more heavily than differences.” Id. (internal
13   citations omitted). Under this standard, cases from this district as well as others have held
14   that a dash or hyphen is inconsequential in determining the similarity of two marks. See
15   Maxim Integrated Prods., Inc. v. Quintana, 654 F. Supp. 2d 1024, 1031–32 (N.D. Cal.
16   2009) (placing little emphasis on the hyphen in the mark “My-iButton” when comparing
17   its similarity to “i Button”); see also Therma-Scan, Inc., v. Thermoscan, Inc., 295 F.3d 623,
18   633–34 (6th Cir. 2002) (finding the dash insignificant in the mark Therma-Scan when
19   comparing its similarity to the mark Thermoscan).
20         Despite the foregoing, at trial, DFP proceeded under the belief that the dash was
21   significant in determining the similarity of their mark and SDCC’s “Comic-Con”
22   trademark. For example, DFP stated:
23         Mr. Katz: It’s Comic-Dash-Con, and their position is it’s enforceable as
           Comic Con with nothing in between, a space, a dash. You know, they use the
24
           dash when they use it alone, and they use the space when they use it with
25         something else.
           ...
26
           Ms. Bjurstrom: We have Comic Con International without a dash, and we
27         have San Diego Comic Con International without a dash.
           ...
28
                                                  17

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 1         The Court: But as to Comic Con with the dash, does the mark cover Comic
           Con without the dash in its plain and literal meaning?
 2
           Ms. Bjurstrom: Absolutely.
 3         The Court: How?
           Ms. Bjurstrom: It is. It’s likely to be confusing. You don’t say Comic-Hyphen-
 4
           con.
 5         Mr. Katz: That’s what we’re trying to establish, that it is not likely to be
           confusing.
 6
           Ms. Bjurstrom: It’s the same mark.
 7         The Court: So if - -
           Ms. Bjurstrom: You look at how it looks, how it sounds, how it’s perceived.
 8
           You don’t say Comic - -
 9         Mr. Katz: We disagree.
           Ms. Bjurstrom: Please. You don’t say Comic-Hyphen-Con. You don’t say
10
           Coca-Hyphen-Cola. You say Coca-Cola.
11
     (Doc. No. 382 at 58:10–59:13.)
12
           In light of the case law from this district, DFP’s forceful attempts to draw the jury’s
13
     attention to the dash in “Comic-Con” in analyzing the similarity of the two trademarks at
14
     issue is legally groundless. See Super-Krete Int’l, Inc. v. Sadleir, 712 F. Supp. 2d 1023,
15
     1032 (C.D. Cal. 2010) (“While Defendants argue that the hyphen is significant in
16
     modifying the term, this argument is contrary to the case law—and common sense.”).
17
           Finally, during closing argument, DFP doubled down and broke the “Golden Rule.”
18
     DFP’s counsel stated:
19
           Even if you accept the dismissive “they’re just infringers, we’ll get to them.”
20         Okay. They’ve caused harm, too. What share of the harm did they cause to
21         this brand erosion that we haven’t seen any measure of? So we are just asking
           you to think critically about the evidence. Think about what it means. And
22         what it would mean to you if you were personally involved in this.
23         The Court: Golden Rule. Jury is not--you are not to put the jury in the place
           of either party. The jury will disregard the last comment.
24         Mr. Katz: I apologize for that. I will state it differently.
25
     (Doc. No. 403 at 71:2–13.) The “Golden Rule” argument, “asking the jury to put itself in
26
     the position of the party, is improper.” Reynolds v. Gerstel, No. 1:09-cv-00680-SAB, 2013
27
     WL 4815788, at *5 (E.D. Cal. Sept. 9, 2013); see also Lovett v. Union Pac. R.R. Co., 201
28
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 1   F.3d 1074, 1083 (8th Cir. 2000) (explaining that the Golden Rule “argument is universally
 2   condemned because it encourages the jury to depart from neutrality and to decide the case
 3   on the basis of personal interest and bias rather than on the evidence.”) (citation omitted).
 4         In sum, DFP’s trial misconduct further supports the Court’s conclusion that this case
 5   is “exceptional” pursuant to § 1117(a).
 6         iv. Remaining Issues
 7         One additional factor in determining the exceptionality of a case under the Lanham
 8   Act is the substantive strength of a party’s litigating position. See Veracode, 137 F. Supp.
 9   3d at 101. SDCC points to the following pieces of evidence to demonstrate the strength of
10   its case: (1) the incontestable status of its trademarks; (2) its trademark survey that
11   demonstrated that 83% of consumers recognize it as a brand; (3) Mr. Brandenburg’s
12   admission that Comic-Con is a brand; and (4) the commercial strength of its marks. (Doc.
13   No. 425-1 at 11–12.) In opposition, DFP argues that their case is equally strong. (Doc. No.
14   512 at 9–10.)
15         The Court finds that this case is not so “deeply lopsided” in regards to strength to
16   warrant finding it exceptional under this specific factor. See Veracode, Inc., 137 F. Supp.
17   3d at 101 (holding that a case must present the “indicia of a deeply lopsided case” for the
18   moving party to satisfy this element). The Court explicates that though SDCC’s case is
19   compelling and heavily supported by persuasive evidence, DFP’s case, including the
20   evidence of over one hundred comic events using “comic con” in their event name, is not
21   objectively frivolous.
22         Thus, this factor weighs neutrally. See Gametek LLC v. Zynga, Inc., No. CV 13-2546
23   RS, 2014 WL 4351414, at *3 (N.D. Cal. Sept. 2, 2014) (explaining that although the
24   opposing party’s briefing “consisted of granular parsing of the claimed steps rather than
25   any substantive explanation of how this differed from the underlying abstract idea[,] [i]t
26   did not . . . descend to the level of frivolous argument or objective unreasonableness.”).
27         Next, the Court turns to SDCC’s argument that DFP’s abuse of the media makes this
28   case “exceptional.” (Doc. No. 425-1 at 7, 8, 14–15.) Specifically, SDCC takes issue with
                                                  19

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 1   the press releases and interviews DFP gave after they received SDCC’s cease and desist
 2   letter, their articles published through social media that attacked SDCC and its executives,
 3   and DFP’s alleged “public bullying strategy” that persisted over three years all aimed at
 4   denigrating SDCC before the public. (Id.) DFP asserts that they cannot be punished for
 5   exercising their First Amendment rights. (Doc. No. 512 at 15–16.)
 6         The Court’s analysis under this factor is best explained by quoting to Defendant
 7   Brandenburg himself. In a news article, Mr. Brandenburg explained his reaction to
 8   receiving SDCC’s cease and desist letter:
 9         “Our knee jerk reaction was that [SDCC was] trying to intimidate us” . . . “We
           were not going to cease and desist using the name. We decided to go public
10
           about it.” After consulting with their lawyers, the team behind the Salt Lake
11         Comic Con knew they had strong legal ground to stand on, but they didn’t
           want to go to court, they wanted to win in the court of public opinion . . .
12
           “Everyone said that San Diego had no leg to stand on, but the only way to win
13         this would be to outspend them on legal fees” . . . “Our strategy was, if we
           are going to spend legal fees vs. legal fees, we wanted to be creative. We put
14
           it out to the public, challenging the cease and desist letter publically.”
15
16   (Doc. No. 126-3 at 2–3.)
17         Refusing to cease and desist and turning to the media to litigate a trademark
18   infringement case in the court of “public opinion” is objectively irrational. The Court
19   clarifies that it is not maintaining that Mr. Brandenburg was not entitled to his First
20   Amendment rights. Instead, looking to the standard proscribed by the Ninth Circuit,
21   objectively, DFP’s reaction and actions in response to SDCC’s cease and desist letter force
22   this case to stand out from others. Nevertheless, the Court notes that this argument is but
23   one small factor in this Order’s analysis. In fact, even without this element, the
24   circumstances discussed supra pp. 7–18 adequately and reasonably justify SDCC’s request
25   for attorneys’ fees pursuant to § 1117(a).
26         Finally, DFP’s opposition brief is littered with statements such as: “The jury
27   disagreed; but in finding no willfulness, the jury accepted DFP’s explanation that when the
28   defendants used the term ‘brand,’ they were referring to that goodwill, the goodwill of the

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 1   events.” (Doc. No. 512 at 11.) These blatant, unsupported statements are plainly specious—
 2   DFP has no idea what the jury believed or how they understood the evidence. Thus, the
 3   Court ignored such statements in coming to its conclusion.
 4         v.     Conclusion
 5         SDCC’s motion is bursting at the seams with incidents that it believes demonstrates
 6   the exceptional nature of this case. After careful consideration of the totality of the
 7   circumstances, the Court agrees with SDCC and finds that it has satisfied its burden.
 8   Accordingly, the Court GRANTS SDCC’s motion for attorneys’ fees and costs, subject to
 9   the deductions delineated below. See Kilopass Tech. Inc. v. Sidense Corp., No. C 10-02066
10   SI, 2014 WL 3956703, at *10–14 (N.D. Cal. Aug. 12, 2014) (concluding that the case was
11   exceptional based on the defendant’s “exceptionally meritless” claims, the unreasonable
12   manner in which the case was litigated, the defendant’s shifting theories of infringement,
13   and conduct that amounted to gamesmanship).
14   B.    SDCC’s Requested Fees are Subject to Deductions
15         SDCC argues that its fees and the allocated time spent are reasonable. (Doc. No.
16   425-1 at 27–29.) DFP’s opposition brief devotes the last two pages to arguing that
17   bifurcation is proper in the instant matter as they could not “fully respond to both liability
18   and the proper amount of any award” in their opposition brief. (Doc. No. 512 at 30.) DFP
19   then requests that an additional proceeding be had on the amount. (Id.)
20         The Court declines DFP’s request for bifurcation and for a further proceeding. DFP
21   was provided the opportunity to oppose SDCC’s motion. Their decision to forego the
22   chance to rebut the rates of SDCC’s attorneys and the reasonableness of their time sheets,
23   not only fails to satisfy their burden at this stage of the litigation, but also acts as a waiver
24   to any arguments not presented in their opposition brief. See Stichting Pensioenfonds ABP
25   v. Countrywide Fin. Corp., 802 F. Supp. 2d 1125, 1132 (C.D. Cal. 2011) (“In most
26   circumstances, failure to respond in an opposition brief to an argument put forward in an
27   opening brief constitutes waiver or abandonment in regard to the uncontested issue.”)
28   (citation omitted).
                                                    21

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 1         Moreover, as DFP has failed to challenge or dispute SDCC’s hourly rate or provide
 2   substantial assertions opposing SDCC’s hours logged, the Court’s inquiry ends after it
 3   determines whether the fee request is reasonable. See United States v. $28,000.00 in U.S.
 4   Currency, 802 F.3d 1100, 1105 (9th Cir. 2015) (“When … a fee target has failed to offer
 5   either countervailing evidence or persuasive argumentation in support of its position, we
 6   do not think it is the court’s job either to do the target’s homework or to take heroic
 7   measures aimed at salvaging the target from the predictable consequences of self-indulgent
 8   lassitude.”) (citation omitted).
 9         The Court now turns to an evaluation of the reasonableness of SDCC’s fees. Courts
10   typically determine reasonableness by conducting a lodestar analysis of the hours expended
11   and the hourly rate charged. See McGrath v. Cty. of Nevada, 67 F.3d 248, 252 (9th Cir.
12   1995); see also Camacho v. Bridgeport Fin., Inc., 523 F.3d 973, 978 (9th Cir. 2008)
13   (explaining that in the Ninth Circuit, courts calculate an award of attorneys’ fees using the
14   lodestar method, multiplying “the number of hours the prevailing party reasonably
15   expended on the litigation by a reasonable hourly rate.”) (citation omitted). The burden is
16   on the fee applicant to demonstrate that the number of hours spent were “reasonably
17   expended” and that counsel made a “good faith effort to exclude from [the] fee request
18   hours that are excessive, redundant, or otherwise unnecessary[.]” Hensley, 461 U.S. at 434.
19   The district court has broad discretion in determining the reasonableness of attorney’s fees.
20   See Gates v. Deukmejian, 987 F.2d 1392, 1398 (9th Cir. 1992).
21         Additionally, “[a]lthough in most cases, the lodestar figure is presumptively a
22   reasonable fee award, the district court may, if circumstances warrant, adjust the lodestar
23   to account for other factors which are not subsumed within it.” Ferland v. Conrad Credit
24   Corp., 244 F.3d 1145, 1149 n.4 (9th Cir. 2001). The factors are:
25         (1) the time and labor required, (2) the novelty and difficulty of the questions
           involved, (3) the skill requisite to perform the legal service properly, (4) the
26
           preclusion of other employment by the attorney due to acceptance of the case,
27         (5) the customary fee, (6) whether the fee is fixed or contingent, (7) time
           limitations imposed by the client or the circumstances, (8) the amount
28
                                                  22

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 1         involved and the results obtained, (9) the experience, reputation, and ability
           of the attorneys, (10) the “undesirability” of the case, (11) the nature and
 2
           length of the professional relationship with the client, and (12) awards in
 3         similar cases.
 4
     Ballen v. City of Redmond, 466 F.3d 736, 746 (9th Cir. 2006) (citation omitted).
 5
           In total, SDCC requests $4,994,245.20 in attorneys’ fees and costs incurred by it
 6
     from the inception of this case through August 10, 2018. (Doc. No. 527 ¶ 5.) In addition,
 7
     SDCC also requests certain non-taxable costs, including $243,833.06 that SDCC paid to
 8
     its two expert witnesses: Matthew G. Ezell and Patrick Kennedy, along with their
 9
     assistants. (Doc. No. 425-3 ¶ 24.)
10
           i. Reasonable Hourly Rate
11
           The determination of reasonable hourly rates is made by examining the prevailing
12
     market rates in the relevant community charged for similar services by “lawyers of
13
     reasonably comparable skill, experience, and reputation.” Davis v. City and Cty. of San
14
     Francisco, 976 F.2d 1536, 1546 (9th Cir. 1992) (citation omitted), opinion vacated on
15
     other grounds by 984 F.2d 345 (9th Cir. 1993). The “relevant community” for these
16
     purposes is the district in which the lawsuit proceeds. Barjon v. Dalton, 132 F.3d 496, 500
17
     (9th Cir. 1997).
18
           The moving party has the burden to produce “satisfactory evidence, in addition to
19
     the affidavits of its counsel, that the requested rates are in line with those prevailing in the
20
     community for similar services of lawyers of reasonably comparable skill and reputation.”
21
     Jordan v. Multnomah Cty., 815 F.2d 1258, 1263 (9th Cir. 1987). Once the fee applicant
22
     has met its burden, the opposing party “has a burden of rebuttal that requires submission
23
     of evidence to the district court challenging the accuracy and reasonableness of the hours
24
     charged or the facts asserted by the prevailing party in its submitted affidavits.” Gates, 987
25
     F.2d at 1397–98.
26
           SDCC cites to several Southern District of California cases as well as employs the
27
     declarations of Callie A. Bjurstrom and Peter K. Hahn to illustrate that its attorney rates
28
                                                    23

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 1   are reasonable. The following are the rates for the SDCC attorneys, paralegals, and
 2   litigation support team members who worked on the present matter.
 3      1. Callie A. Bjurstrom, lead trial attorney with over twenty-nine years of experience—
 4         $675.00 to $760.00 an hour.
 5      2. Peter K. Hahn, a partner and member of Pillsbury’s Intellectual Property (“IP”)
 6         Section with over twenty-eight years of experience—$675.00 to $760.00 an hour.
 7      3. Michelle A. Herrera, an attorney with over sixteen years of litigation experience—
 8         $525.00 to $585.00 an hour.
 9      4. Conor Civins, a partner with over fourteen years of experience—$550.00 to $685.00
10         an hour.
11      5. Kirsten Gallacher, an associate in Pillsbury’s IP section—$385.00 to $545.00 an
12         hour.
13      6. Nathaniel Smith, a University of San Diego School of Law 2007 graduate—$550.00
14         to $730.00 an hour.
15      7. Matthew Stephens, an associate in Pillsbury’s IP Section—$545.00 an hour.
16      8. Tim Rawson, a 2014 Pepperdine University School of Law graduate—$545.00 an
17         hour.
18      9. Lauren Wardle, an associate in Pillsbury’s IP Section—$560.00 an hour.
19      10. David Stanton, a partner and member of Pillsbury’s Litigation section—$765.00 an
20         hour.
21      11. Andrew Chevalier, William Collier, Carl DiCarlo, Benton McDonough, Wilton
22         McNair, Allison Porter, Candes Prewitt, Jennifer Romeo, Kelly Sims, Jenny
23         Villalobos, Eboni Wooden, and Calumn Yeaman, contract attorneys who work out
24         of Pillsbury’s office in Nashville, Tennessee who assisted with eDiscovery,
25         document review, and legal research—$110.00 an hour.
26      12. Sandra Edge, a senior legal analyst in Pillsbury’s IP Section with over thirty years
27         of experience—$285.00 to $315.00.
28      13. Cody Gartman, a trial paralegal with over seven years of experience—$245.00 an
                                                 24

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 1         hour.
 2      14. Louie Perez, a senior legal analyst in Pillsbury’s IP section with over five years of
 3         experience—$295.00.
 4      15. Colin Drake, a Litigation Support Project Management Coordinator with over ten
 5         years of experience—$275.00 to $305.00 an hour.
 6      16. Val Trinidad, a Senior Litigation Support Analyst with over nine years of
 7         experience—$295.00 to $305.00 an hour.
 8      17. John Monarrez, a Research Specialist—$150.00 an hour.
 9      18. Stacey Barnes, a paralegal in Pillsbury’s IP section—335.00 an hour.
10      19. Martin Bridges, a consulting manager in Pillsbury’s Corporate Securities Group
11         whose testimony was read into the record at trial—$425.00 an hour.
12      20. Thomas Brooks, the Discovery Project Manager—$305.00 an hour.
13      21. Stacey Campbell, a paralegal in Pillsbury’s IP section who provided trial
14         preparation support—$285.00 an hour.
15      22. John Farahjood, a Litigation Support Specialist who assisted with review of
16         electronically stored information—$305.00 an hour.
17      23. Gordon Moffat, Director of Litigation Support Services—$390.00 an hour.
18      24. Patrick Ng, a Litigation Support Project Manager—$305.00 an hour.
19      25. Anthony Vugrinecz, a Senior Litigation Support Analyst—$299.42 an hour.
20   (Doc. No. 425-3 ¶¶ 2–16; Doc. Nos. 527-2, 530.)
21         Ultimately, the Court finds that SDCC has satisfied its initial burden and guided the
22   Court as to the reasonable hourly rate prevailing in the community for similar work
23   performed by attorneys of comparable skill and reputation. See Chalmers v. City of Los
24   Angeles, 796 F.2d 1205, 1210 (9th Cir. 1986). First, as to the two cases provided by SDCC,
25   the hourly rates determined to be reasonable were $607.50 for Ms. Bjurstrom, $472.50 for
26   Ms. Herrera, (Doc. No. 425-4 at 17), and $630 an hour for a partner and $495 an hour for
27   an associate, (Id. at 24). The remainder of the cases cited to by SDCC demonstrate that
28   rates for attorneys in the intellectual property division have earned upwards of $800.00 an
                                                 25

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 1   hour. See Zest IP Holdings, LLC v. Implant Direct Mfg., LLC, No. 10-CV-0541-GPC
 2   (WVG), 2014 WL 6851612, at *5–6 (S.D. Cal. Dec. 3, 2014) (finding rates reasonable
 3   where plaintiffs sought “an hourly rate of between $170 per hour and $895 per hour
 4   depending on the particular attorney or paralegal” for work by a “multi-state/national law
 5   firm”). Thus, based off the cases delineated above, the Court finds SDCC’s unopposed
 6   attorneys’ rates listed supra pp. 23–24 reasonable.
 7         The Court notes that DFP’s response to SDCC’s supplemental fee brief argues that
 8   SDCC has not justified its lawyers’ hefty year-over-year rate increases. (Doc. No. 532 at
 9   6.) DFP then requests that the Court should substantially lower rates in calculating the
10   lodestar. (Id. at 7.) This argument is nonsensical. DFP produces no rational justification for
11   why SDCC’s lawyers should not receive raises each year they progress within their firm.
12   Moreover, DFP’s conclusory arguments, unsupported by evidence or case law, do not
13   satisfy their burden of rebuttal.
14         Next as to the paralegal rates, SDCC fails to provide any case law to support the
15   rates of its paralegals and litigation support team members.6 See Blum v. Stenson, 465 U.S.
16   886, 895 n.11 (1984) (“To inform and assist the court in the exercise of its discretion, the
17   burden is on the fee applicant to produce satisfactory evidence—in addition to the
18   attorney’s own affidavits—that the requested rates are in line with those prevailing in the
19   community for similar services . . . .”). Nevertheless, the Court may consider SDCC’s
20   declaration in addition to similar cases and its own knowledge and familiarity with the
21   Southern District of California legal market in setting a reasonable hourly rate. See Ingram
22   v. Oroudjian, 647 F.3d 925, 928 (9th Cir. 2011).
23         Reasonable rates for paralegals in this district have ranged from $125 to $225. See
24   In re Maxwell Techs., Inc., Derivative Litig., No. 13CV966 BEN (RBB), 2015 WL
25   12791166, at *5 (S.D. Cal. July 13, 2015) (awarding $225 paralegal rate to paralegals with
26
27
     6
        For purposes of this Order, the Court will group SDCC’s paralegals, legal analysts,
28   litigation support team members, and research specialists into one group.
                                                   26

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 1   “significant experience”); see also Flowrider Surf, Ltd. v. Pac Surf Designs, Inc., No.
 2   15cv1879-BEN (BLM), 2017 WL 2212029, at *2–3 (S.D. Cal. May 18, 2017) (awarding
 3   paralegal fees of $150 per hour in a patent infringement case); LG Corp. v. Huang Xiaowen,
 4   No. 16-CV-1162-JLS (NLS), 2017 WL 3877741, at *3 (S.D. Cal. Sept. 5, 2017) (finding
 5   reasonable a rate of $225 per hour for a paralegal with over twenty years of experience).
 6   At its highest, this district has approved a paralegal rate of $290.00. See In re Maxwell
 7   Techs., Inc., 2015 WL 12791166, at *5.
 8         Pillsbury is an American Lawyer Top 100 law firm with its IP litigation practice
 9   named in the Best Lawyers in America for 2017. (Doc. No. 425-3 ¶ 17.) Thus, the Court
10   does not dispute the quality of the work Pillsbury’s paralegals provided. However, SDCC
11   has failed to produce evidence to demonstrate that its paralegal rates of over $300.00 an
12   hour are reasonable. Accordingly, taking into consideration Pillsbury’s national and global
13   presence, the Court will cap SDCC’s paralegal, legal analysts, and litigation support team
14   members’ hourly rates at $290.00—the high end of paralegal rates provided by this district.
15   See Carr v. Tadin, Inc., 51 F. Supp. 3d 970, 981 (S.D. Cal. 2014) (listing paralegal rates
16   that ranged from $110.00 to $295.00, but concluding that as rates of $125–$150
17   predominated, a $150.00 per hour rate for paralegals was reasonable). The final award will
18   be adjusted in light of the above mentioned modification.
19         In sum, the Court finds SDCC’s attorneys’ rates in this case reasonable—these rates
20   were largely unopposed by DFP. The paralegals and litigation support team members with
21   rates over $290.00 an hour will be capped at $290.00. The remainder of the paralegal rates
22   that do not exceed $290.00 are considered reasonable.
23         ii. Hours Reasonably Spent
24         “The moving party bears the burden of documenting the appropriate hours spent in
25   the litigation and submitting evidence in support of the hours worked.” Zest IP Holdings,
26   2014 WL 6851612, at *6. After the moving party provides evidence of the hours billed, the
27   opposing party has the burden of submitting evidence “challenging the accuracy and
28   reasonableness of the hours charged or the facts asserted by the prevailing party in its
                                                 27

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 1   submitted affidavits.” Gates, 987 F.2d at 1398. “Even if the opposing party has not objected
 2   to the time billed, the district court ‘may not uncritically accept a fee request,’ but is
 3   obligated to review the time billed and assess whether it is reasonable in light of the work
 4   performed and the context of the case.” Rodriguez v. Barrita, Inc., 53 F. Supp. 3d 1268,
 5   1280 (N.D. Cal. 2014).
 6         District courts have discretion to reduce the number of hours that were not
 7   reasonably expended. Hensley, 461 U.S. at 434. When determining whether the number of
 8   hours expended is reasonable, the following criterion may be taken into account, but each
 9   factor cannot be an independent basis to reduce hours: “(1) the novelty and complexity of
10   the issues, (2) the special skill and experience of counsel, (3) the quality of representation,
11   and (4) the results obtained.” Cabrales v. Cty. of Los Angeles, 864 F.2d 1454, 1464 (9th
12   Cir. 1988) (citation omitted), judgment vacated on other grounds by 490 U.S. 1087 (1989).
13         SDCC requests all hours billed from the inception of this case to August 10, 2018.
14   (Doc. No. 527 ¶¶ 3, 4.) In analyzing reasonableness, the Court first notes that DFP requests
15   a deduction for quarter-hour billing. (Doc. No. 512 at 30.) Courts have recognized that
16   billing by the quarter-hour, not by the tenth is a “deficient” practice “because it does not
17   reasonably reflect the number of hours actually worked.” See Zucker v. Occidental
18   Petroleum Corp., 968 F. Supp. 1396, 1403 n.11 (C.D. Cal. 1997) (demonstrating that an
19   attorney with a $300 hourly rate who works six minutes on a matter would charge $30 if
20   he bills by the tenth of an hour and $75 if he bills by the quarter hour). Due to this, courts
21   have reduced the fee award by a percentage to account for the unearned increment based
22   on quarter-hour billing. See Preseault v. United States, 52 Fed. Cl. 667, 680–81 (Fed. Cl.
23   2002). In the present case, the Court in its discretion reduces SDCC’s attorneys’ fee award
24   by twenty percent to account for the practice of billing by the quarter-hour. See Zest IP
25   Holdings, 2014 WL 6851612, at *10 n.2 (taking a 20% overall reduction in fees based on
26   quarter-hour billing).
27         DFP also briefly asserts that a reduction is appropriate as SDCC failed to delegate
28   tasks to staff or colleagues with lower billing rates. (Doc. No. 512 at 30–31.) The Court
                                                   28

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 1   disagrees. As SDCC’s time sheet demonstrates, the senior attorneys such as Ms. Herrera,
 2   Ms. Bjurstrom, and Mr. Hahn were mainly in charge of researching and drafting the
 3   dispositive motions in this case as well as settlement and discovery matters. (Doc. No. 507
 4   at 23, 29.) It is only logical to have the more senior attorneys personally involved in these
 5   major parts of the litigation process. Moreover, the timesheet demonstrates that SDCC did
 6   in fact delegate other more basic legal tasks to associate attorneys with lower billing rates
 7   such as Lauren Wardle and Tim Rawson. (Doc. No. 507 at 102, 103, 105, 159, 163.)
 8         The Court notes however that it finds that some tasks were not properly delegated
 9   amongst SDCC’s paralegal and litigation support team members. For example, on June 7,
10   2017, John Farahjood was given the task of printing redacted PDF files. Printing files is
11   not a reasonable use of a litigation support specialist who has a rate of $305.00 an hour.
12   (Doc. No. 507 at 122 (see Banas v. Volcano Corp., 47 F. Supp. 3d 957, 970 (N.D. Cal.
13   Dec. 12, 2014).) Thus, a reduction in the final lodestar amount is warranted.
14         Finally, DFP spends a sentence broadly concluding that SDCC’s task descriptions
15   are highly general and frequently redacted and therefore warrant closer scrutiny. (Doc. No.
16   512 at 30.) First, as to the redactions, “[a] party seeking fees may redact certain portions of
17   the relevant time entries when doing so is necessary to protect the attorney client privilege,
18   so long as the unredacted portions still afford[] the Court sufficient detail to determine the
19   reasonableness of the hours requested.” Shame on You Productions, Inc. v. Banks, CV 14-
20   03512-MMM (JCx), 2016 WL 5929245, at *16 (C.D. Cal. Aug. 15, 2016) (citation and
21   internal quotation marks omitted).
22         The Court notes that there are certain time entries that have been so heavily redacted
23   that the Court cannot assess the reasonableness of the time expended. For example on
24   August 6, 2017, Michelle Herrera stated “Research regarding [REDACTED].” (Doc. No.
25   507 at 150.) This type of redaction has resulted in courts declining to award fees as to those
26   heavily redacted billing entries. See Shame on You Productions, 2016 WL 5929245, at *16.
27   However, in the instant matter, SDCC redacted time entries, but also made the entries
28   available to the Court for in-camera review. (Doc. No. 425-3 ¶ 23.) Thus, DFP’s attack on
                                                   29

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 1   SDCC’s redacted time entries fails. See Vogel v. Tulaphorn, CV 13-464 PSG (PLAx), 2014
 2   WL 12629679, at *10 (C.D. Cal. Jan. 30, 2014) (refusing to reject the defendant’s request
 3   for fees as it willingly stated that it could provide the redacted entries for in-camera
 4   review); see also R.M. v. Encinitas Union Sch. Dist., No. 08cv412-L (JMA), 2013 WL
 5   3873069, at *3 (S.D. Cal. July 25, 2013) (conducting an in-camera review of the
 6   defendant’s invoice to determine reasonableness).
 7         Next, as to DFP’s assertion that the time entries are too general, the Court agrees in
 8   part. Though, SDCC’s counsel “is not required to record in great detail how each minute
 9   of his [or her] time was expended,” Lytle v. Carl, 382 F.3d 978, 989 (9th Cir. 2004), a
10   certain amount of specificity is required. Presently, some entries are incredibly vague. For
11   instance, there are several entries that simply state in some form: “Assist with review
12   project.” (Doc. No. 507 at 121, 122, 124, 136.) Additionally, on October 28, 2016, the time
13   entry states: “Call with S. Edge regarding additional documents for review and review
14   plan,” (Id. at 61), and on November 29, 2016, the narrative described states: “Document
15   review,” (Id. at 67). This is a billing deficiency that justifies a reduction.
16         In that same vein the Court also reduces the amount of hours SDCC requests for
17   duplicative attorney effort. Although it has been recognized that “the participation of more
18   than one attorney does not necessarily constitute an unnecessary duplication of effort[,] see
19   McGrath, 67 F.3d at 255, the Court believes that certain hours were not reasonably
20   expended. For example in July of 2017, Mr. Hahn, Ms. Herrera, and Mr. Smith all took
21   turns revising a sanctions motion. (Doc. No. 507 at 136.) Similarly, in that same month,
22   Mr. Hahn, Mr. Smith, Mr. Stephens, Ms. Bjurstrom, and Ms. Herrera all billed for
23   reviewing the opposition brief to DFP’s motion for leave to amend the pleading. (Id. at
24   140.) Thus, another reduction in the lodestar figure is appropriate. See Mogck v. Unum Life
25   Ins. Co. of Am., 289 F. Supp. 2d 1181, 1195 (S.D. Cal. 2003) (finding a reduction of fees
26   reasonable as both attorneys billed for reviewing the defendant’s objection and two
27   attorneys billed for reviewing the Ninth Circuit opinion in the case); see also Hensley, 461
28   U.S. at 432–34 (holding that counsel submitting fee applications must exclude hours that
                                                    30

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 1   are “excessive, redundant, or otherwise unnecessary[.]”); AT&T Mobility LLC v. Yeager,
 2   No. 2:13-cv-00007 KJM DB, 2018 WL 1567819, at *2 (E.D. Cal. Mar. 30, 2018)
 3   (highlighting that the court has broad discretion to adjust the lodestar fee downward if it
 4   concludes the attorneys performed work that was excessive or duplicative).
 5         Finally, the Court addresses the arguments present in DFP’s response to SDCC’s
 6   supplemental brief. (Doc. No. 532.) Finding that most of DFP’s qualms have already been
 7   addressed above, the Court focuses solely on the assertion that a reduction is justified based
 8   on overstaffing. (Id. at 4.) Here, the Court agrees with DFP that SDCC’s decision to send
 9   three lawyers to the post-trial motion hearing is an unreasonable use of time. As Mr. Hahn
10   did not actively participate at the hearing, the Court will not award Mr. Hahn’s fees totaling
11   $3,532.50 in relation to this matter. (Doc. No. 527-1 at 15.)
12         In sum, the Court reduces SDCC’s fee request by 20% for quarter-hour billing.
13   Additionally, based on the other billing deficiencies delineated above, an additional 5%
14   reduction is warranted as well as a reduction of $3,532.50 for overstaffing. As to the
15   remainder of the hours, after an in-camera review, the Court finds the billed hours are well
16   within the bounds of reason and include sufficient descriptions reflecting the date, amount,
17   and nature of the work SDCC’s attorney’s performed. See LG Corp., 2017 WL 3877741,
18   at *4. Thus, the Court finds no further deduction necessary based on the nature and context
19   of the case, quality of the representation, and result obtained.
20         iii.   Lodestar Calculation
21    Table 1: Hourly
      Rates
22
      2014
23    Timekeeper               Hourly Rate Billed Hourly Rate                  Time Billed
24                                                      Awarded
25    Bjurstrom, Callie A.     $675.00                  $675.00                24.05 hours
26    Hahn, Peter K.           $675.00                  $675.00                89 hours
27    Herrera, Michelle A.     $525.00                  $525.00                41.20 hours
28
                                                   31

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 1   Drake, Colin B.         $275.00             $275.00           0.50 hours
 2   Edge, Sandra V.         $285.00             $285.00           19.25 hours
 3
 4   Table 2: Hourly
 5   Rates
     2015
 6   Timekeeper              Hourly Rate Billed Hourly Rate        Time Billed
 7                                               Awarded
 8   Bjurstrom, Callie A.    $705.00             $705.00           24 hours
 9   Gallacher, Kirsten F.   $385.00             $385.00           10.25 hours
10   Hahn, Peter K.          $705.00             $705.00           174 hours
11   Herrera, Michelle A.    $550.00             $550.00           72 hours
12   Drake, Colin B.         $290.00             $290.00           5.25 hours
13   Edge, Sandra V.         $295.00             $290.00           21.50 hours
14
15   Table 3- Hourly
16   Rates
     2016
17
     Timekeeper              Hourly Rate Billed Hourly Rate        Time Billed
18
                                                 Awarded
19
     Bjurstrom, Callie A.    $735.00             $735.00           93.25 hours
20
     Gallacher, Kirsten F.   $480.00             $480.00           98.75 hours
21
     Hahn, Peter K.          $735.00             $735.00           480.75 hours
22
     Herrera, Michelle A.    $565.00             $565.00           229.50 hours
23
     Stanton, David          $765.00             $765.00           0.25 hours
24
     Drake, Colin B.         $295.00             $290.00           16.50 hours
25
     Edge, Sandra V.         $305.00             $290.00           172.50 hours
26
     Trinidad, Val           $295.00             $290.00           6.25 hours
27
28
                                            32

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 1   Table 4-Hourly
     Rates
 2
     2017
 3   Timekeeper            Hourly Rate Billed Hourly Rate        Time Billed
 4                                               Awarded
 5   Bjurstrom, Callie A. $760.00                $760.00         1085 hours
 6   Chevalier, Andrew     $110.00               $110.00         85.25
 7   Civins, Conor M.      $608.16               $608.16         283.75 hours
 8   Collier, William E.   $110.00               $110.0          167.50 hours
 9   DiCarlo, Carl         $110.00               $110.00         205.50 hours
10   Gallacher, Kirsten    $545.00               $545.00         119 hours
11   F.
12   Hahn, Peter K.        $760.00               $760.00         1422.75 hours
13   Herrera, Michelle A. $585.00                $585.00         967.55 hours
14   McDonough,            $110.00               $110.00         88.25 hours
15   Benton
16   McNair, Wilton A.     $110.00               $110.00         85.75 hours
17   Porter, Allison       $110.00               $110.00         69 hours
18
     Prewitt, Candes V.    $110.00               $110.00         81.75 hours
19
     Rawson, P.E., Tim     $485.35               $485.35         50.25 hours
20
     Romeo, Jennifer R.    $110.00               $110.00         123.25 hours
21
     Sims, Kelly J.        $110.00               $110.00         184.75 hours
22
     Smith, Nathaniel R.   $578.42               $578.42         45.00 hours
23
     Stanton, David        $790.00               $790.00         12.75 hours
24
     Stephens, Matthew     $545.00               $545.00         200.75 hours
25
     R.
26
     Villalobos, Jenny R. $110.00                $110.00         167.25 hours
27
     Wardle, Lauren E.     $560.00               $560.00         145.45 hours
28
                                            33

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 1   Wooden, Eboni T.       $110.00               $110.00        141.75 hours
 2   Yeaman, Calumn J.      $110.00               $110.00        98.75 hours
 3   Barnes, Stacey         $335.00               $290.00        5 hours
 4   Bridges, Martin        $425.00               $290.00        1 hour
 5   Brooks, Thomas         $305.00               $290.00        1 hour
 6   Campbell, Stacey       $285.00               $285.00        7.25 hours
 7   Drake, Colin B.        $305.00               $290.00        89 hours
 8   Edge, Sandra V.        $315.00               $290.00        1,195.75 hours
 9   Farahjood, John        $305.00               $290.00        17 hours
10   Gartman, Cody A.       $245.00               $245.00        224.80 hours
11   Moffat, Gordon         $390.00               $290.00        15.75 hours
12   Monarrez, John D.      $150.00               $150.00        12.75 hours
13   Ng, Patrick            $305.00               $290.00        0.50 hours
14
     Perez, Louie           $295.00               $290.00        120.25 hours
15
     Trinidad, Val          $300.63               $290.00        151 hours
16
     Vugrinecz,          J. $299.42               $290.00        18.75 hours
17
     Anthony
18
19
     Table 5-Hourly
20   Rates
21   2018
     Timekeeper             Hourly Rate Billed Hourly Rate       Time Billed
22
                                                  Awarded
23
     Bjurstrom, Callie A. $795.00                 $795.00        221.70 hours
24
     Civins, Conor M.       $675.00               $675.00        14.25 hours
25
     Hahn, Peter K.         $785.00               $785.00        221 hours
26
     Herrera, Michelle A. $605.00                 $605.00        330.30 hours
27
     Wardle, Lauren E.      $615.00               $615.00        120.75 hours
28
                                             34

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 1    Edge, Sandra V.        $325.00                    $290.00              143.95 hours
 2    Monarrez, John D.      $300.00                    $290.00              0.25 hours
 3
 4         SDCC requests $4,994,245.20 in attorneys’ fees and costs. (Doc. No. 527 ¶ 5.) The
 5   Court notes however, that the lodestar number based off of the declarations provided by
 6   SDCC is $5,278,438.88. This discrepancy is due to the fact that the lodestar number does
 7   not include courtesy discounts that occurred in March 2017 ($11,000), April 2017
 8   ($30,000), May 2017 ($30,000), June 2017 ($50,000), July 2017 ($20,000), August 2017
 9   ($25,000), September 2017 ($25,000), October 2017 ($30,000), November 2017
10   ($55,000), December 2017 ($20,000), January 2018 ($10,000), and February 2018
11   ($10,000). In total, SDCC provided $316,000 in courtesy discounts. Subtracting the
12   courtesy discounts, the new lodestar number is 4,962,438.88. After the 20% reduction for
13   quarter-hour billing, the 5% reduction for other billing deficiencies, and the $3,532.50 for
14   overstaffing, the final lodestar number is $3,767,921.06.
15         iv.    Expert Costs
16         The Lanham Act provides that “[w]hen a violation of any right of the registrant of a
17   mark registered in the Patent and Trademark Office . . . have been established in any civil
18   action . . . the plaintiff shall be entitled to . . . (3) the costs of the action.” 15 U.S.C. §
19   1117(a). Under Federal Rule of Civil Procedure 54, costs other than attorney’s fees may
20   be allowed to the prevailing party unless a federal statute or a court order provides
21   otherwise. Fed. R. Civ. P. 54(d)(1).
22         SDCC seeks to recover certain non-taxable costs. Specifically, SDCC requests
23   $243,833.06 that SDCC paid to its two experts: Matthew G. Ezell and Patrick Kennedy,
24   along with their assistants. (Doc. No. 425-3 ¶ 24.) DFP does not oppose this request. (See
25   generally Doc. No. 512.)
26         Ms. Bjurstrom’s declaration delineates the various benefits and advantages provided
27   by both experts. For instance, Mr. Ezell conducted the Teflon Survey that addressed the
28   primary significance of “Comic-Con” to the public. (Doc. No. 425-3 ¶ 25.) Additionally,
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 1   Mr. Ezell performed substantive research and helped analyze and develop a response to the
 2   report prepared by DFP’s expert Jeffrey Kaplan. (Id.) As to Mr. Kennedy, he was hired to
 3   assess SDCC’s damage remedies and also prepared and submitted a detailed expert report
 4   and supplemental report. (Id. ¶ 26.) Both experts’ invoices were provided to the Court.
 5   (Doc. No. 425-6.)
 6         It is clear from the record that Mr. Ezell’s work was critical to SDCC’s ultimate
 7   success in the action—specifically to its trademark infringement claim. Thus, given the
 8   reliance on Mr. Ezell and his survey, his fee of $92,323.56 for his work in connection with
 9   this matter was reasonably necessary for the prosecution of SDCC’s case. See SAS v.
10   Sawabeh Info. Servs. Co., No. CV 11-04147 MMM (MANx), 2015 WL 12763541, at *35
11   (C.D. Cal. June 22, 2015.) The Court will thus award $92,323.56 in costs.
12         In comparison, Mr. Kennedy’s necessity is less clear. Though he testified to various
13   important financial matters, his corrective advertising report stating that a brand repair
14   program would cost $9.62 million was not well-received by the jury as evidenced by the
15   jury award of only $20,000. (Doc. No. 234-1 at 22; Doc. No. 395 at 8.) Based on the
16   foregoing, the Court in its discretion, advances only $120,000.00 instead of $151,509.50
17   as costs to cover Mr. Kennedy’s expenses. (Doc. No. 423-3 ¶ 26 (see Brighton Collectibles,
18   LLC v. Believe Production, Inc., No. 2:15-cv-00579-CAS (ASx), 2018 WL 1381894, at *5
19   (C.D. Cal. Mar. 15, 2018)).)
20         Accordingly, the Court awards SDCC $212,323.56 to cover the costs of its two
21   experts. See Lanyard Toys Ltd. v. Novelty, Inc., No. CV 05-8406-GW (JWJx), 2008 WL
22   11333941, at *21 (C.D. Cal. Mar. 18, 2008) (explaining that the district courts “may award
23   otherwise non-taxable costs . . .”) (citation omitted).
24                                         CONCLUSION
25          The Court has exhaustively and carefully considered the totality of the
26   circumstances in this case. Having done so, the Court finds that this case stands out when
27   compared to run of the mill trademark infringement cases. Accordingly, in its discretion,
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 1   finding this case “exceptional” pursuant to 15 U.S.C. § 1117(a), SDCC as the prevailing
 2   party is awarded attorneys’ fees and costs subject to the deductions listed above.
 3         It is accordingly ORDERED that SDCC is awarded attorneys’ fees and costs
 4   totaling $3,962,486.84.7 This award includes $3,767,921.06 in attorneys’ fees and
 5   $212,323.56 in expert costs. The Clerk of Court must enter judgment for SDCC and against
 6   DFP, Dan Farr an individual, and Bryan Brandenburg an individual, and each of them, in
 7   this amount, as well as the $20,000 awarded by the jury, in this case. The Clerk of Court is
 8   also directed to issue the permanent injunction. As no issues remain, the Clerk is instructed
 9   to CLOSE the docket of this case. Accordingly, SDCC’s motion for attorneys’ fees and
10   costs is GRANTED IN PART AND DENIED IN PART.
11
12   IT IS SO ORDERED.
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14   Dated: April 15, 2019
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       The Court notes that the final award was adjusted by deducting $17,757.78 in attorneys’
26   fees that were awarded to SDCC and paid by DFP in relation to DFP’s unsuccessful motion
27   for sanctions. (Doc. Nos. 484, 522; Doc. No. 532 at 3.) The Court disagrees with DFP that
     the award should be reduced by $23,238, which is the amount SDCC initially requested.
28   (Doc. No. 532 at 3.)
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